Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03   Desc
                          Exhibit 14 Page 1 of 38


                               EXHIBIT 14

                       Documents Produced by Cowen
           Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03 Desc
                                           Exhibit 14 Page 2 of 38
From:              Rosenblum, Gail <Gail.Rosenblum@cowen.com>
Sent:              Wednesday, January 18, 2017 7:13AM
To:                Schwab, Bradly <Bradly.Schwab@cowen.com>; Mori, John <John.Mori@cowen.com>
Subject:           Fwd: Caesars Question


Please see below- Although we have other options, effective date is today, and last day for transfers.

There has been no response from Thomas. I can send one more email and write we have allocated funds for this
transaction and ask him to confirm that he intends/does not intend to proceed, although it seems obvious.

We will also need to speak with Jillian (WB).

Gail


Begin forwarded message:

       From: Pierre Labissiere <plabissiere@PrimeClerk.com>
       Date: January 17, 2017 at 10:08:27 PM EST
       To: "Rosenblum, Gail" <Gail.Rosenblum@cowen.com>
       Subject: RE: Caesars Question

       Gail -As per the Plan, the ~~Distribution Record Date" means the date for determining which Holders of
       Allowed Claims or Interests are eligible to receive distributions, which shall be the Effective Date or such
       other date as is designated in a Bankruptcy Court order. The ~~Effective Date" is defined as the first Business
       Day after the Confirmation Date. In short as long as you transfer the claim tomorrow then you will be still
       be entitled to the applicable distribution, if any. Let us know if you have any other questions.

       Regards,
       Pierre




       Pierre L. Labissiere
       plabissiere@primeclerk.com
       Prime Clerk
       830 Third Avenue, gth Floor
       New York, NY 10022
       212 257 5468 office
       347 744 1464 mobile
       primeclerk.com
       The highest level of professionalism, innovation and transparency in bankruptcy administration.
       For more information click here: http://orimeclerk.com/raisinq-the-bar/

       <imageOOl.png>     <image002.png>


       From: Rosenblum, Gail [mailto:Gaii.Rosenblum@cowen.com]
       Sent: Tuesday, January 17, 2017 11:54 AM
       To: Pierre Labissiere <plabissiere@PrimeCierk.com>
       Subject: FW: Caesars Question


       Good morning Pierre,




                                                                                               CONFIDENTIAL CSI 00000398
   Case 15-01145          Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                         Desc
                                    Exhibit 14 Page 3 of 38
I am sorry I missed your call Friday and tried you this morning but did not reach you. I wanted to follow up
and would appreciate it if you would call or reply to the email below regarding the plan confirmation and
transferability of claims.

Thank you in advance,
Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com




From: Rosenblum, Gail
Sent: Friday, January 13, 2017 11:52 AM
To: CEOC Info <ceocinfo@primeclerk.com>; Claim Transfers <claimtransfers@PrimeCierk.com>
Cc: Inquiries <inquiries@PrimeCierk.com>; 'Dori B. Goldstein' <dgoldstein@primeclerk.com>
Subject: Caesars Question


Good morning,

We are aware the hearing to consider confirmation of the Plan in the Caesars Bankruptcy will be held next
Tuesday, 1/17/2017. If the Plan is confirmed, will that affect the transferability of claims, or is there a date
after which ownership of a claim can no longer be transferred?

Thank you and I would be grateful for your prompt reply.

Regards,
Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com



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contained herein is accurate, complete or up to date, nor shall Cowen have any responsibility to
update any opinions or other information contained herein.




                                                                                    CONFIDENTIAL CSI 00000399
           Case 15-01145     Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                          Desc
                                         Exhibit 14 Page 4 of 38
From:            Schwab, Bradly <Bradly.Schwab@cowen.com>
Sent:            Wednesday, January 18, 2017 7:20AM
To:              Rosenblum, Gail <Gail.Rosenblum@cowen.com>
Cc:              Mori, John <John.Mori@cowen.com>
Subject:         Re: Caesars Question


I would assume its gone and he is not interested in doing anything. I assume you have heard nothing from him
since last week, correct? I have heard nothing.

I would send one last email and tell him that after today it will be a much more difficult transaction to
complete.

I would also tell Jillian that seller has disappeared and that there is most likely no transaction.

Looks like participation going forward effective COB today. Maybe John should pass this info along to some of
the creditors he has been speaking with.

B.

Bradly D. Schwab
Managing Director/Group Head
Cowen Special Investments
646.616.3081
Bradly. schwab@cowen. com


On Jan 18, 2017, at 12:13 PM, Rosenblum, Gail <Gail.Rosenblum@cowen.com> wrote:

      Please see below- Although we have other options, effective date is today, and last day for
      transfers.

      There has been no response from Thomas. I can send one more email and write we have allocated
      funds for this transaction and ask him to confirm that he intends/does not intend to proceed,
      although it seems obvious.

      We will also need to speak with Jillian (WB).

      Gail


      Begin forwarded message:

             From: Pierre Labissiere <plabissiere@PrimeClerk.com>
             Date: January 17, 2017 at 10:08:27 PM EST
             To: "Rosenblum, Gail" <Gail.Rosenblum@cowen.com>
             Subject: RE: Caesars Question

             Gail -As per the Plan, the ~~Distribution Record Date" means the date for determining which
             Holders of Allowed Claims or Interests are eligible to receive distributions, which shall be the
             Effective Date or such other date as is designated in a Bankruptcy Court order. The ~~Effective
             Date" is defined as the first Business Day after the Confirmation Date. In short as long as you




                                                                                        CONFIDENTIAL CSI 00000401
Case 15-01145         Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                          Desc
                                Exhibit 14 Page 5 of 38
  transfer the claim tomorrow then you will be still be entitled to the applicable distribution, if
  any. Let us know if you have any other questions.

  Regards,
  Pierre




  Pierre L. Labissiere
  plabissiere@primeclerk.com
  Prime Clerk
  830 Third Avenue, gth Floor
  New York, NY 10022
  212 257 5468 office
  347 744 1464 mobile
  primeclerk.com
  The highest level of professionalism, innovation and transparency in bankruptcy administration.
  For more information click here: http://orimeclerk.com/raisinq-the-bar/

  <imageOOl.png>     <image002.png>


  From: Rosenblum, Gail [mailto:Gaii.Rosenblum@cowen.com]
  Sent: Tuesday, January 17, 2017 11:54 AM
  To: Pierre Labissiere <plabissiere@PrimeCierk.com>
  Subject: FW: Caesars Question


  Good morning Pierre,

  I am sorry I missed your call Friday and tried you this morning but did not reach you. I
  wanted to follow up and would appreciate it if you would call or reply to the email below
  regarding the plan confirmation and transferability of claims.

  Thank you in advance,
  Gail

  Gail Rosenblum
  Vice President
  Cowen Special Investments
  830 Third Avenue, 4th Floor
  New York, NY 10022
  (0): 646-616-3082
  Gaii.Rosenblum@cowen.com




  From: Rosenblum, Gail
  Sent: Friday, January 13, 2017 11:52 AM
  To: CEOC Info <ceocinfo@primeclerk.com>; Claim Transfers
  <claimtransfers@PrimeCierk.com>
  Cc: Inquiries <inquiries@PrimeCierk.com>; 'Dori B. Goldstein' <dgoldstein@primeclerk.com>
  Subject: Caesars Question


  Good morning,




                                                                                  CONFIDENTIAL CSI 00000402
Case 15-01145         Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                         Desc
                                Exhibit 14 Page 6 of 38
  We are aware the hearing to consider confirmation of the Plan in the Caesars Bankruptcy will
  be held next Tuesday, 1/17/2017. If the Plan is confirmed, will that affect the transferability
  of claims, or is there a date after which ownership of a claim can no longer be transferred?

  Thank you and I would be grateful for your prompt reply.

  Regards,
  Gail

  Gail Rosenblum
  Vice President
  Cowen Special Investments
  830 Third Avenue, 4th Floor
  New York, NY 10022
  (0): 646-616-3082
  Gaii.Rosenblum@cowen.com



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                                                                                   CONFIDENTIAL CSI 00000403
            Case 15-01145        Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                  Desc
                                             Exhibit 14 Page 7 of 38
From:                Rosenblum, Gail <Gail.Rosenblum@cowen.com>
Sent:                Wednesday, January 18, 2017 7:26AM
To:                  Schwab, Bradly <Bradly.Schwab@cowen.com>
Cc:                  Mori, John <John.Mori@cowen.com>
Subject:             Re: Caesars Question


Thanks- You are correct, Thomas has not responded since my conversation with him late Friday. Agree with all
you wrote and will do -

Gail

On Jan 18, 2017, at 7:20AM, Schwab, Bradly <Bradly.Schwab@cowen.com> wrote:

       I would assume its gone and he is not interested in doing anything. I assume you have heard
       nothing from him since last week, correct? I have heard nothing.

       I would send one last email and tell him that after today it will be a much more difficult transaction
       to complete.

       I would also tell Jillian that seller has disappeared and that there is most likely no transaction.

       Looks like participation going forward effective COB today. Maybe John should pass this info
       along to some of the creditors he has been speaking with.

       B.

       Bradly D. Schwab
       Managing Director/Group Head
       Cowen Special Investments
       646.616.3081
       Bradly.schwab@cowen.com


       On Jan 18, 2017, at 12:13 PM, Rosenblum, Gail <Gail.Rosenblum@cowen.com> wrote:

              Please see below- Although we have other options, effective date is today, and last
              day for transfers.

              There has been no response from Thomas. I can send one more email and write we
              have allocated funds for this transaction and ask him to confirm that he intends/does
              not intend to proceed, although it seems obvious.

              We will also need to speak with Jillian (WB).

              Gail


              Begin forwarded message:

                      From: Pierre Labissiere <plabissiere@PrimeClerk.com>
                      Date: January 17, 2017 at 10:08:27 PM EST




                                                                                      CONFIDENTIAL CSI 00000404
Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                      Desc
                            Exhibit 14 Page 8 of 38
      To: "Rosenblum, Gail" <Gail.Rosenblum@cowen.com>
      Subject: RE: Caesars Question

      Gail -As per the Plan, the ~~Distribution Record Date" means the date for
      determining which Holders of Allowed Claims or Interests are eligible to receive
      distributions, which shall be the Effective Date or such other date as is
      designated in a Bankruptcy Court order. The ~~Effective Date" is defined as the
      first Business Day after the Confirmation Date. In short as long as you transfer
      the claim tomorrow then you will be still be entitled to the applicable
      distribution, if any. Let us know if you have any other questions.

      Regards,
      Pierre




       Pierre L. Labissiere
       plabissiere@primeclerk.com
       Prime Clerk
       830 Third Avenue, gth Floor
       New York, NY 10022
       212 257 5468 office
       347 744 1464 mobile
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      The highest level of professionalism, innovation and transparency in bankruptcy
      administration.
      For more information click here: http://primeclerk.com/raising-the-bar/

       <imageOOl.png>    <image002.png>


      From: Rosenblum, Gail [mailto:Gaii.Rosenblum@cowen.com]
      Sent: Tuesday, January 17, 2017 11:54 AM
      To: Pierre Labissiere <plabissiere@PrimeCierk.com>
      Subject: FW: Caesars Question


      Good morning Pierre,

      I am sorry I missed your call Friday and tried you this morning but did not reach
      you. I wanted to follow up and would appreciate it if you would call or reply to
      the email below regarding the plan confirmation and transferability of claims.

      Thank you in advance,
      Gail

      Gail Rosenblum
      Vice President
      Cowen Special Investments
      830 Third Avenue, 4th Floor
      New York, NY 10022
      (0): 646-616-3082
      Gaii.Rosenblum@cowen.com




                                                                              CONFIDENTIAL CSI 00000405
Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                      Desc
                             Exhibit 14 Page 9 of 38
      From: Rosenblum, Gail
      Sent: Friday, January 13, 2017 11:52 AM
      To: CEOC Info <ceocinfo@primeclerk.com>; Claim Transfers
      <claimtransfers@PrimeCierk.com>
      Cc: Inquiries <inquiries@PrimeCierk.com>; 'Dori B. Goldstein'
      <dgoldstein@primeclerk.com>
      Subject: Caesars Question


      Good morning,

      We are aware the hearing to consider confirmation of the Plan in the Caesars
      Bankruptcy will be held next Tuesday, 1/17/2017. If the Plan is confirmed, will
      that affect the transferability of claims, or is there a date after which ownership
      of a claim can no longer be transferred?

      Thank you and I would be grateful for your prompt reply.

      Regards,
      Gail

      Gail Rosenblum
      Vice President
      Cowen Special Investments
      830 Third Avenue, 4th Floor
      New York, NY 10022
      (0): 646-616-3082
      Gaii.Rosenblum@cowen.com



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      any responsibility to update any opinions or other information contained
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                                                                                CONFIDENTIAL CSI 00000406
           Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03              Desc
                                         Exhibit 14 Page 10 of 38
From:             Schwab, Bradly <Bradly.Schwab@cowen.com>
Sent:             Wednesday, January 18, 2017 7:52AM
To:               Rosenblum, Gail <Gail.Rosenblum@cowen.com>
Subject:          Re: Caesars Question


If you have no response by noon your time just kill it and move on.

B.

Bradly D. Schwab
Managing Director/Group Head
Cowen Special Investments
646.616.3081
Bradly. schwab@cowen. com


On Jan 18, 2017, at 12:32 PM, Rosenblum, Gail <Gail.Rosenblum@cowen.com> wrote:

      Of course I have, many times. Left message yesterday on his VM and with assistant, Laurie.

      On Jan 18, 2017, at 7:26AM, Schwab, Bradly <Bradly.Schwab@cowen.com> wrote:

             Have you called him?

             B.

             Bradly D. Schwab
             Managing Director/Group Head
             Cowen Special Investments
             646.616.3081
             Bradly. schwab@cowen.com


             On Jan 18, 2017, at 12:25 PM, Rosenblum, Gail <Gail.Rosenblum@cowen.com>
             wrote:

                   Thanks - You are correct, Thomas has not responded since my
                   conversation with him late Friday. Agree with all you wrote and will do-

                   Gail

                   On Jan 18, 2017, at 7:20AM, Schwab, Bradly
                   <Bradly.Schwab@cowen.com> wrote:

                          I would assume its gone and he is not interested in doing
                          anything. I assume you have heard nothing from him since
                          last week, correct? I have heard nothing.

                          I would send one last email and tell him that after today it will
                          be a much more difficult transaction to complete.

                          I would also tell Jillian that seller has disappeared and that



                                                                                     CONFIDENTIAL CSI 00000419
Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03             Desc
                             Exhibit 14 Page 11 of 38
           there is most likely no transaction.

           Looks like participation going forward effective COB today.
           Maybe John should pass this info along to some of the
           creditors he has been speaking with.

           B.

           Bradly D. Schwab
           Managing Director/Group Head
           Cowen Special Investments
           646.616.3081
           Bradly. schwab@cowen.com


           On Jan 18,2017, at 12:13 PM, Rosenblum, Gail
           <Gail.Rosenblum@cowen.com> wrote:

                 Please see below- Although we have other
                 options, effective date is today, and last day for
                 transfers.

                 There has been no response from Thomas. I can
                 send one more email and write we have allocated
                 funds for this transaction and ask him to confirm
                 that he intends/does not intend to proceed,
                 although it seems obvious.

                 We will also need to speak with Jillian (WB).

                 Gail


                 Begin forwarded message:

                        From: Pierre Labissiere
                        <plabi ssi ere@PrimeCl erk. com>
                        Date: January 17, 2017 at 10:08:27
                        PM EST
                        To: "Rosenblum, Gail"
                        <Gail.Rosenblum@cowen.com>
                        Subject: RE: Caesars Question

                        Gail -As per the Plan, the ~~Distribution
                        Record Date" means the date for
                        determining which Holders of Allowed
                        Claims or Interests are eligible to
                        receive distributions, which shall be the
                        Effective Date or such other date as is
                        designated in a Bankruptcy Court order.
                        The 'Hfective Date" is defined as the
                        first Business Day after the
                        Confirmation Date. In short as long as




                                                                      CONFIDENTIAL CSI 00000420
Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03         Desc
                          Exhibit 14 Page 12 of 38
                      you transfer the claim tomorrow then
                      you will be still be entitled to the
                      applicable distribution, if any. Let us
                      know if you have any other questions.

                      Regards,
                      Pierre




                      Pierre L. Labissiere
                      plabissiere@primeclerk.com
                      Prime Clerk
                      830 Third Avenue, gth Floor
                      New York, NY 10022
                      212 257 5468 office
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                      <imageOOl.png>    <image002.png>


                      From: Rosenblum, Gail
                      [mailto:Gail. Rosenblum @cowen.com]
                      Sent: Tuesday, January 17, 2017 11:54
                      AM
                      To: Pierre Labissiere
                      <plabissiere@ PrimeCierk.com>
                      Subject: FW: Caesars Question


                      Good morning Pierre,

                      I am sorry I missed your call Friday and
                       tried you this morning but did not
                      reach you. I wanted to follow up and
                      would appreciate it if you would call or
                      reply to the email below regarding the
                      plan confirmation and transferability of
                      claims.

                      Thank you in advance,
                      Gail

                      Gail Rosenblum
                      Vice President
                      Cowen Special Investments
                      830 Third Avenue, 4th Floor
                      New York, NY 10022
                      (0): 646-616-3082
                      Gaii.Rosenblum@cowen.com




                                                                  CONFIDENTIAL CSI 00000421
Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03          Desc
                          Exhibit 14 Page 13 of 38



                      From: Rosenblum, Gail
                      Sent: Friday, January 13, 2017 11:52
                      AM
                      To: CEOC Info
                      <ceocinfo@primeclerk.com>; Claim
                      Transfers
                      <claimtransfers@PrimeCierk.com>
                      Cc: Inquiries
                      <inquiries@PrimeCierk.com>; 'Dori B.
                      Goldstein'
                      <dgoldstein@primeclerk.com>
                      Subject: Caesars Question


                      Good morning,

                      We are aware the hearing to consider
                      confirmation of the Plan in the Caesars
                      Bankruptcy will be held next Tuesday,
                      1/17/2017. If the Plan is confirmed, will
                      that affect the transferability of claims,
                      or is there a date after which ownership
                      of a claim can no longer be transferred?

                      Thank you and I would be grateful for
                      your prompt reply.

                      Regards,
                      Gail

                      Gail Rosenblum
                      Vice President
                      Cowen Special Investments
                      830 Third Avenue, 4th Floor
                      New York, NY 10022
                      (0): 646-616-3082
                      Gaii.Rosenblum@cowen.com



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                      of any security in any jurisdiction



                                                                   CONFIDENTIAL CSI 00000422
Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03          Desc
                           Exhibit 14 Page 14 of 38
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                                                                   CONFIDENTIAL CSI 00000423
           Case 15-01145         Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                    Desc
                                           Exhibit 14 Page 15 of 38
From:           Rosenblum, Gail <Gail.Rosenblum@cowen.com>
Sent:           Wednesday, January 18, 2017 7:58AM
To:             Schwab, Bradly <Bradly.Schwab@cowen.com>
Subject:        Re: Caesars Question


Okay, really made every effort but although he considered it, doubt he was ever a serious seller.

On Jan 18,2017, at 7:51AM, Schwab, Bradly <Bradly.Schwab@cowen.com> wrote:

      If you have no response by noon your time just kill it and move on.

      B.

      Bradly D. Schwab
      Managing Director/Group Head
      Cowen Special Investments
      646.616.3081
      Bradly. schwab@cowen.com


      On Jan 18, 2017, at 12:32 PM, Rosenblum, Gail <Gail.Rosenblum@cowen.com> wrote:

            Of course I have, many times. Left message yesterday on his VM and with assistant, Laurie.

            On Jan 18, 2017, at 7:26AM, Schwab, Bradly <Bradly.Schwab@cowen.com> wrote:

                  Have you called him?

                  B.

                  Bradly D. Schwab
                  Managing Director/Group Head
                  Cowen Special Investments
                  646.616.3081
                  Bradly. schwab@cowen. com


                  On Jan 18,2017, at 12:25 PM, Rosenblum, Gail <Gail.Rosenblum@cowen.com>
                  wrote:

                         Thanks - You are correct, Thomas has not responded since my
                         conversation with him late Friday. Agree with all you wrote and will do-

                         Gail

                         On Jan 18,2017, at 7:20AM, Schwab, Bradly
                         <Bradly. Schwab@cowen.com> wrote:

                                I would assume its gone and he is not interested in doing
                                anything. I assume you have heard nothing from him since
                                last week, correct? I have heard nothing.

                                I would send one last email and tell him that after today it
                                will be a much more difficult transaction to complete.

                                I would also tell Jillian that seller has disappeared and that
                                there is most likely no transaction.




                                                                                            CONFIDENTIAL CSI 00000424
Case 15-01145    Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                 Desc
                           Exhibit 14 Page 16 of 38
                Looks like participation going forward effective COB today.
                Maybe John should pass this info along to some of the
                creditors he has been speaking with.

                B.

                Bradly D. Schwab
                Managing Director/Group Head
                Cowen Special Investments
                646.616.3081
                Bradly. schwab@cowen.com


                On Jan 18, 2017, at 12:13 PM, Rosenblum, Gail
                <Gail.Rosenblum@cowen.com> wrote:

                      Please see below - Although we have other
                      options, effective date is today, and last day for
                      transfers.

                      There has been no response from Thomas. I can
                      send one more email and write we have
                      allocated funds for this transaction and ask him
                      to confirm that he intends/does not intend to
                      proceed, although it seems obvious.

                      We will also need to speak with Jillian (WB).

                      Gail


                      Begin forwarded message:

                             From: Pierre Labissiere
                             <plabissiere@PrimeClerk.com>
                             Date: January 17,2017 at 10:08:27
                             PM EST
                             To: "Rosenblum, Gail"
                             <Gail.Rosenblum@cowen.com>
                             Subject: RE: Caesars Question

                             Gail- As per the Plan, the "Distribution
                             Record Date" means the date for
                             determining which Holders of Allowed
                             Claims or Interests are eligible to
                             receive distributions, which shall be
                             the Effective Date or such other date
                             as is designated in a Bankruptcy Court
                             order. The "Effective Date" is defined
                             as the first Business Day after the
                             Confirmation Date. In short as long as
                             you transfer the claim tomorrow then
                             you will be still be entitled to the
                             applicable distribution, if any. Let us
                             know if you have any other questions.

                             Regards,
                             Pierre




                                                                           CONFIDENTIAL CSI 00000425
Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03           Desc
                          Exhibit 14 Page 17 of 38


                        Pierre L. Labissiere
                        plabissiere@primeclerk.com
                        Prime Clerk
                        830 Third Avenue, gth Floor
                        New York, NY 10022
                        212 257 5468 office
                        347 744 1464 mobile
                        primeclerk.com
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                        http: 1/primeclerk.com/ra ising-the-bar/

                        <imageOOl.png>    <image002.png>


                        From: Rosenblum, Gail
                        [mailto:Gail. Rosenblum@cowen.com]
                        Sent: Tuesday, January 17, 2017 11:54
                        AM
                        To: Pierre Labissiere
                        <plabissiere@PrimeCierk.com>
                        Subject: FW: Caesars Question

                        Good morning Pierre,

                        I am sorry I missed your call Friday and
                         tried you this morning but did not
                        reach you. I wanted to follow up and
                        would appreciate it if you would call
                        or reply to the email below regarding
                        the plan confirmation and
                        transferability of claims.

                        Thank you in advance,
                        Gail

                        Gail Rosenblum
                        Vice President
                        Cowen Special Investments
                        830 Third Avenue, 4th Floor
                        New York, NY 10022
                        (0): 646-616-3082
                        Gaii.Rosenblum@cowen.com




                        From: Rosenblum, Gail
                        Sent: Friday, January 13, 2017 11:52
                        AM
                        To: CEOC Info
                        <ceocinfo@primeclerk.com>; Claim
                        Transfers
                        <cia i mtra nsfers@ Pri meCierk. com>
                        Cc: Inquiries
                        <inquiries@PrimeCierk.com>; 'Dori B.




                                                                    CONFIDENTIAL CSI 00000426
Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03            Desc
                          Exhibit 14 Page 18 of 38
                        Goldstein'
                        <dgoldstein@primeclerk.com>
                        Subject: Caesars Question

                        Good morning,

                        We are aware the hearing to consider
                        confirmation of the Plan in the
                        Caesars Bankruptcy will be held next
                        Tuesday, 1/17/2017. If the Plan is
                        confirmed, will that affect the
                        transferability of claims, or is there a
                        date after which ownership of a claim
                        can no longer be transferred?

                        Thank you and I would be grateful for
                        your prompt reply.

                        Regards,
                        Gail

                        Gail Rosenblum
                        Vice President
                        Cowen Special Investments
                        830 Third Avenue, 4th Floor
                        New York, NY 10022
                        (0): 646-616-3082
                        Gaii.Rosenblum@cowen.com



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                        d is cia imer/




                                                                     CONFIDENTIAL CSI 00000427
               Case 15-01145           Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                         Desc
                                                 Exhibit 14 Page 19 of 38
From:               Rosenblum, Gail <Gail.Rosenblum@cowen.com>
Sent:               Wednesday, January 18,2017 4:01PM
To:                 Delano, Cindy Chen <CDelano@whiteboxadvisors.com>
Cc:                 Pasacreta, Amy <apasacreta@orrick.com>; Patel, Amit <APatel@whiteboxadvisors.com>; Mori,
                    John <John.Mori@cowen.com>; Bottge, Jillian <Jillian.Bottge@cowen.com>; Fechik, Matthew
                    <mfechik@orrick.com>; Mintz, DouglasS. <dmintz@orrick.com>
Subject:            Re: Caesars Trade - Cowen Special Investments
Attach:             imageOOl.jpg; image004.png


Hello,

We are waiting to hear from the Seller and will be in touch tomorrow, hopefully in the morning.

Regards,
Gail

On Jan 18, 2017, at 3:55PM, Delano, Cindy Chen <CDelano@whiteboxadvisors.com> wrote:

         Hi,

         Any updates on the supporting documents? In addition, any updates on the new language to account for the
         confirmation occurrence? Thanks.


         From: Rosenblum, Gail [mailto:Gaii.Rosenblum@cowen.com]
         Sent: Thursday, January 12, 2017 12:25 PM
         To: Pasacreta, Amy
         Cc: Patel, Amit; Delano, Cindy Chen; Mori, John; Bottge, Jillian; Fechik, Matthew; Mintz, Douglas S.
         Subject: RE: Caesars Trade - Cowen Special Investments

         Hi Amy,

         Thank you for the quick turnaround.

         We will forward the supporting documents as soon as they are received.

         Regards,
         Gail

         Gail Rosenblum
         Vice President
         Cowen Special Investments
         830 Third Avenue, 4th Floor
         New York, NY 10022
         (0): 646-616-3082
         Gaii.Rosenblum@cowen.com




         From: Pasacreta, Amy [mailto:apasacreta@orrick.com]
         Sent: Thursday, January 12, 2017 12:57 PM
         To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
         Cc: Patel, Am it <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
         <John.Mori@cowen.com>; Bottge, Jill ian <Jillian.Bottge@cowen.com>; Fechik, Matthew <mfechik@orrick.com>; Mintz,
         DouglasS. <dmintz@orrick.com>
         Subject: RE: Caesars Trade- Cowen Special Investments

         Gail-




                                                                                                    CONFIDENTIAL CSI 00000449
         Case 15-01145       Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                               Desc
                                       Exhibit 14 Page 20 of 38
As discussed, attached are initial comments to the draft (clean and marked to show changes). In the interest
of time, I am forwarding prior to: (i) diligence review, (ii) final internal review and (iii) review by White box, as
such, the attached remains subject to further review and comment. The attached also assumes the claim is an
allowed general unsecured Class I claim.

Please let me know if you have any questions on the attached.


Thank you!


Amy G. Pasacreta
Attorney At Law

Orrick
New York <imageOO l.jpg>
T +1-212-506-5159
apasacreta@orrick.com

<!--[if !vml]--><image002.png>< !--[endif]-->


Distressed Download Blog


<!--[if !vml]--><image004.png>< !--[endif]-->




From: Rosenblum, Gail [mailto:Gaii.Rosenblum@cowen.com]
Sent: Thursday, January 12, 2017 11:12 AM
To: Pasacreta, Amy <apasacreta@orrick.com>
Cc: Patel, Am it <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
<John.Mori@cowen.com>; Bottge, Jill ian <Jillian.Bottge@cowen.com>
Subject: Caesars Trade- Cowen Special Investments

Amy,

I am following up to our conversation (with John Mori) earlier this morning. Below you will find the trade details for the
sale of the Earl of Sandwich (Atlantic City) LLC claim to Whitebox.

Attached is a draft the upstream, and as will be stated to the Seller, the trade is subject to the completion of due
diligence and confirmation the claim is allowed in the amount of $3,600,000.00. Two claims have been filed, and we
believe one will be expunged, but both have been included in the agreement. In addition, space has been left in the
draft to include the Order.

Please let us know if you have comments to the draft.




Cowen Special Investments LLC (Cowen) confirms the following transaction with Whitebox Advisors.

Debtor(s):                        Caesars Entertainment Operating Company, Inc.
                                US Bankruptcy Court, Northern District of Illinois
                           CASE No. 15-01145

Claim:                              Valid, undisputed, liquidated, non-contingent, allowed, general unsecured claim in
the amount of $3,600,000.00

Original Creditor:                Earl of Sandwich (Atlantic City) LLC

Purchase Rate:                     62.00%




                                                                                           CONFIDENTIAL CSI 00000450
       Case 15-01145                  Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                                                         Desc
                                                Exhibit 14 Page 21 of 38
Purchase Price:                              $2,232,000.00- Product of the Purchase Rate and the total amount of the Claim


Form of Purchase:                            Assignment of Claim Agreement to be prepared by Cowen.


Conditions:          Trade subject to satisfactory completion of due diligence. Cowen executing an Assignment of Claim
                     Agreement with original holder of Claim. Execution of a mutually acceptable Assignment of Claim
                     customary for the sale and purchase of distressed trade claims.



Thank you,
Gail


Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com


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                                                                                                                        CONFIDENTIAL CSI 00000451
           Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                 Desc
                                        Exhibit 14 Page 22 of 38
From:             Bottge, Jillian
Sent:             Thursday, January 19, 2017 9:55:41 AM
To:               AMIT PATEL
Subject:          Bloomberg Conversation

Attachments:       Orig inaiXml.xml

Archived Instant Message Conversation (Bloomberg)
Conversation started on Thu, Jan 19, 2017 9:55 AM EST
JBOTTGE entered the conversation.
APATEL362 entered the conversation.
JBOTTGE invited APATEL362 to the conversation:
APATEL362 said:
*** AMIT PATEL (WHITEBOX ADVISORS, LLC) Personal Disclaimer:
APATEL362 said:
*** WHITEBOX ADVISORS, LLC (1 07547) Disclaimer:
APATEL362 said:
yo
JBOTTGE said:
Sun Edison (SUNE/SUNEQ) note on your emails --specific to GUC recoveries .. we traded a block of converts last
week around 3.50 .. we think downside 1.2, upside 10.3 .. i have more for sale ..
JBOTTGE said:
and you saw BTU struck deal with trade claimants
JBOTTGE said:
30c max recovery .. all cash .. no upside from there
JBOTTGE said:
had heard there was a 10-13 bid around the other day .. nothing has traded
APATEL362 said:
i saw that on BTU
APATEL362 said:
pretty good outcome for the trade
JBOTTGE said:
well.. considering they were semi-fcked otherwise
JBOTTGE said:
re: CZR .. trying to wrap up the 3.6mm ... and hoping i can get you the hilton piece and/or the other 15mm we were
working on
APATEL362 said:
okthx
JBOTTGE said:
are you guys doing anything in DLPH stubs?
APATEL362 said:
we are not
APATEL362 said:
QE did a great job though
JBOTTGE said:
yup. bailer.
JBOTTGE said:
we are apparently having trouble with the CZR seller (3.6mm) .. they are just non responsive
JBOTTGE said:
mentioned to cindy as well
APATEL362 said:
thats not good
APATEL362 said:
we have a confirm
APATEL362 said:
in place
APATEL362 said:
talk to me
APATEL362 said:
we got this straight?
JBOTTGE said:
im hoping the guy has a bad case of gout
JBOTTGE said:
and his internal counsel is working through the language




                                                                                  CONFIDENTIAL CSI 00000458
          Case 15-01145       Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                   Desc
                                        Exhibit 14 Page 23 of 38
JBOTTGE said:
spoke to them very late friday .. they had the docs in hand .. asked us if we'd be in on Monday-- Gail told them
she'd be in to work on the transaction .. and we've been reaching out ever since
APATEL362 said:
ok
JBOTTGE said:
breathe.
APATEL362 said:
need a kick save here
JBOTTGE said:
please.
JBOTTGE said:
do i need to fly out and take you to yoga
JBOTTGE said:
some namaste
Conversation ended on Thu, Jan 19, 2017 2:21 PM EST
Parties in this conversation
About APATEL362 [AMIT PATEL -]
Bloomberg Email:       APATEL362@Bioomberg.net
Corporate Email:
Firm: WHITEBOX ADVISORS, L []
About JBOTTGE [JILLIAN BOTTGE - 34813]
Bloomberg Email:       JBOTTGE@Bioomberg.net
Corporate Email:       jillian.bottge@cowen.com
Firm: COWEN AND COMPANY, L [34813]
Proofpoint Archiving and Compliance Suite
Tag as Bloomberg Tag as Instant Message Tag as Instant Messages Tag as IM




                                                                                   CONFIDENTIAL CSI 00000459
           Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                   Desc
                                        Exhibit 14 Page 24 of 38
From:             Bottge, Jillian
Sent:             Thursday, January 19, 2017 12:36:20 PM
To:               CINDY DELANO
Subject:          Bloomberg Conversation

Attachments:       Orig inaiXml.xml

Archived Instant Message Conversation (Bloomberg)
Conversation started on Thu, Jan 19, 2017 12:36 PM EST
JBOTTGE entered the conversation.
CDELAN01 entered the conversation.
JBOTTGE invited CDELAN01 to the conversation:
CDELAN01 said:
*** CINDY DELANO (WHITEBOX ADVISORS, LLC) Personal Disclaimer:
CDELAN01 said:
*** WHITEBOX ADVISORS, LLC (1 07547) Disclaimer:
JBOTTGE said:
a heads up on this 3.6mm CZR ..
CDELAN01 said:
hi
JBOTTGE said:
we are having trouble getting a response from them ..
CDELAN01 said:
Do the sellers have a lawyer?
JBOTTGE said:
we were not given the attorney's name if there was an external one
CDELAN01 said:
okay; guess we can just follow up
JBOTTGE said:
spoke to them very late friday .. they had the docs in hand .. asked us if we'd be in on Monday-- Gail told them
she'd be in to work on the transaction .. and we've been reaching out ever since
JBOTTGE said:
we continue to follow up .. just letting you know the roadblock im running into here
CDELAN01 said:
understood, thank you
Conversation ended on Thu, Jan 19,2017 12:41 PM EST
Parties in this conversation
About CDELAN01 [CINDY DELANO -]
Bloomberg Email:       CDELAN01@Bioomberg.net
Corporate Email:
Firm: WHITEBOX ADVISORS, L []
About JBOTTGE [JILLIAN BOTTGE - 34813]
Bloomberg Email:       JBOTTGE@Bioomberg.net
Corporate Email:       jillian.bottge@cowen.com
Firm: COWEN AND COMPANY, L [34813]
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                                                                                   CONFIDENTIAL CSI 00000471
               Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                    Desc
                                               Exhibit 14 Page 25 of 38
From:               Schwab, Bradly <Bradly.Schwab@cowen.com>
Sent:               Monday, January 23, 2017 10:32 AM
To:                 Bottge, Jillian <Jillian.Bottge@cowen.com>; Rosenblum, Gail
                    <Gail.Rosenblum@cowen. com>
Cc:                 Mori, John <John.Mori@cowen.com>
Subject:            RE: Caesars Trade - Cowen Special Investments


Jillian- As of now seller is sitting tight. Will keep you posted if anything changes.

We have been told by claims agent that claims are no longer transferable.

B.

Bradly D. Schwab I Managing Director
Head of Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
0: 646.616.3081
Bradly. schwab@cowen. com




From: Bottge, Jillian
Sent: Monday, January 23, 2017 10:23 AM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>; Schwab, Bradly <Bradly.Schwab@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Any feedback yet from the seller? Still MIA?




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com




From: Rosenblum, Gail
Sent: Tuesday, January 17, 2017 2:36PM
To: Bottge, Jillian <Jillian.Bottge@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Jill ian,

I just got off the phone with the claims agent and they are checking on transferability (Plan was confirmed) and said they
will get back to me today.




                                                                                        CONFIDENTIAL CSI 00000482
               Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                 Desc
                                            Exhibit 14 Page 26 of 38
Revising language in the doc is reasonable and should not be a problem.

Gail


From: Bottge, Jillian
Sent: Tuesday, January 17, 2017 2:32PM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Got it.
Whitebox will need to address record date in the agreement to account for timing updates ...




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com




From: Rosenblum, Gail
Sent: Tuesday, January 17, 2017 12:24 PM
To: Bottge, Jillian <Jillian.Bottge@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Jill ian,

We were in touch with the Seller late Friday and waiting to hear from him. We explained the deadline (confirmation
hearing is today) and have also contacted the claims administrator regarding transferability should the plan be
confirmed today.

I will get back to you as soon as I have more info, hopefully within the next few hours.

Please let me know if you have any questions.

Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com




From: Bottge, Jillian
Sent: Tuesday, January 17, 2017 11:51 AM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>




                                                                                           CONFIDENTIAL CSI 00000483
                Case 15-01145     Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03              Desc
                                            Exhibit 14 Page 27 of 38
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Gail- we do we stand with this trade?




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com
 ... , •"'\\Vtl·'·'
({JvV :::,. '
                      N'

From: Rosenblum, Gail
Sent: Thursday, January 12, 2017 1:25PM
To: Pasacreta, Amy <apasacreta@orrick.com>
Cc: Patel, Amit <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
<John.Mori@cowen.com>; Bottge, Jillian <Jillian.Bottge@cowen.com>; Fechik, Matthew <mfechik@orrick.com>; Mintz,
DouglasS. <dmintz@orrick.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Amy,

Thank you for the quick turnaround.

We will forward the supporting documents as soon as they are received.

Regards,
Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com




From: Pasacreta, Amy [mailto:apasacreta@orrick.com]
Sent: Thursday, January 12, 2017 12:57 PM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Patel, Amit <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
<John.Mori@cowen.com>; Bottge, Jillian <Jillian.Bottge@cowen.com>; Fechik, Matthew <mfechik@orrick.com>; Mintz,
DouglasS. <dmintz@orrick.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Gail-

As discussed, attached are initial comments to the draft (clean and marked to show changes). In the interest
of time, I am forwarding prior to: (i) diligence review, (ii) final internal review and (iii) review by Whitebox, as
such, the attached remains subject to further review and comment. The attached also assumes the claim is an
allowed general unsecured Class I claim.



                                                                                   CONFIDENTIAL CSI 00000484
             Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                       Desc
                                          Exhibit 14 Page 28 of 38
Please let me know if you have any questions on the attached.


Thank you!


Amy G. Pasacreta
Attorney At Law

Orrick
New York @
T +1-212-506-5159
apasacreta@orrick.com




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From: Rosenblum, Gail [mailto:Gaii.Rosenblum@cowen.com]
Sent: Thursday, January 12, 2017 11:12 AM
To: Pasacreta, Amy <apasacreta@orrick.com>
Cc: Patel, Amit <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
<John.Mori@cowen.com>; Bottge, Jillian <Jillian.Bottge@cowen.com>
Subject: Caesars Trade- Cowen Special Investments

Amy,

I am following up to our conversation (with John Mori) earlier this morning. Below you will find the trade details for the
sale of the Earl of Sandwich (Atlantic City) LLC claim to White box.

Attached is a draft the upstream, and as will be stated to the Seller, the trade is subject to the completion of due
diligence and confirmation the claim is allowed in the amount of $3,600,000.00. Two claims have been filed, and we
believe one will be expunged, but both have been included in the agreement. In addition, space has been left in the
draft to include the Order.

Please let us know if you have comments to the draft.




Cowen Special Investments LLC (Cowen) confirms the following transaction with Whitebox Advisors.

Debtor{s):                        Caesars Entertainment Operating Company, Inc.
                                US Bankruptcy Court, Northern District of Illinois
                           CASE No. 15-01145

Claim:                             Valid, undisputed, liquidated, non-contingent, allowed, general unsecured claim in
the amount of $3,600,000.00




                                                                                        CONFIDENTIAL CSI 00000485
             Case 15-01145               Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                                            Desc
                                                   Exhibit 14 Page 29 of 38
Original Creditor:                          Earl of Sandwich (Atlantic City) LLC

Purchase Rate:                               62.00%

Purchase Price:                             $2,232,000.00- Product of the Purchase Rate and the total amount of the Claim

Form of Purchase:                           Assignment of Claim Agreement to be prepared by Cowen.

Conditions:          Trade subject to satisfactory completion of due diligence. Cowen executing an Assignment of Claim
                     Agreement with original holder of Claim. Execution of a mutually acceptable Assignment of Claim
                     customary for the sale and purchase of distressed trade claims.



Thank you,
Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com

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                                                                                                                  CONFIDENTIAL CSI 00000486
           Case 15-01145       Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                    Desc
                                         Exhibit 14 Page 30 of 38
From:             Bottge, Jillian
Sent:             Thursday, February 02, 2017 9:44:13 AM
To:               NICKOLAS STUKAS
Subject:          Bloomberg Conversation

Attachments:        Orig inaiXml.xml

Archived Instant Message Conversation (Bloomberg)
Conversation started on Thu, Feb 2, 2017 9:44AM EST
JBOTTGE entered the conversation.
STUKAS1 entered the conversation.
JBOTTGE invited STUKAS1 to the conversation:
JBOTTGE said:
re: this last CZR claim, do you and amit want to chat at some point?
JBOTTGE said:
fwiw .. we are also going down to virginia on feb 13th to meet with hilton .. trying to pull out the larger chunk
STUKAS1 said:
*** NICKOLAS STUKAS (WHITEBOX ADVISORS, LLC) Personal Disclaimer:
STUKAS1 said:
*** WHITEBOX ADVISORS, LLC (1 07547) Disclaimer:
STUKAS1 said:
hey
STUKAS1 said:
you talking about the last piece we bought from you that hasn't settled yet?
JBOTTGE said:
the small piece, yes .. they went silent after we told them they would not be able to transfer after tuesday .. i also
never received the due diligence from them, etc
JBOTTGE said:
i would guess their assumption was theyd be able to cleanly transfer and they basically ran out of time.
JBOTTGE said:
happy to chat when you guys have some time
STUKAS1 said:
I havean't been entirely in the loop
STUKAS1 said:
why weren't we able to transfer?
JBOTTGE said:
we basically tried to do the trade on thursday -the following tuesday was the confirmation hearing --they have
been non-responsive post the confirmation hearing
STUKAS1 said:
I thought the trde was agreed and we had a confirm?
JBOTTGE said:
in the confirm, trade is subj to us executing an assignment of claim agreement with the orig holder and due
diligence .. i have neither from the seller. guy was a seller- we last spoke to him late friday before the
confirmation hearing - he asked if we'd be in on monday (MLK day) to complete docs and we said yes .. we have
followed up multiple times (including being in the office on that monday) and have not heard back .. there is
nothing on the docket for this claim to imply they did anything around us
JBOTTGE said:
i think he was spooked by thinking he wouldnt be able to get docs in time to cleanly transfer--- if i had to guess ..
do i think thats shtty, yes. we are going to follow up again today .. the idea here is to find you guys as many
claims as we can -we are flying down to hilton to meet in person .. we are having conversations with another
claim holder thats -11 mm ish.
STUKAS1 said:
ok, understood. why don't you give am it a call? he knows 1Ox more about claims settlement than I do. it is a
problem for us in that we are hedging stock on this and so may have suffered some losses from hedging this
claim that we thoguht we were done on.
JBOTTGE said:
i understand.
JBOTTGE entered the conversation.
Conversation ended on Thu, Feb 2, 2017 12:09 PM EST
Parties in this conversation
About STUKAS1 [NICKOLAS STUKAS -]
Bloomberg Email:         STUKAS1@Bioomberg.net
Corporate Email:
Firm: WHITEBOX ADVISORS, L []




                                                                                     CONFIDENTIAL CSI 00000504
                   Case 15-01145              Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03   Desc
                                                           Exhibit 14 Page 31 of 38
From:                           Schwab, Bradly <Bradly.Schwab@cowen.com>
Sent:                           Tuesday, February 7, 2017 10:09 AM
To:                             Bottge, Jillian <Jillian.Bottge@cowen.com>; Rosenblum, Gail
                                <Gail.Rosenblum@cowen. com>
Cc:                             Mori, John <John.Mori@cowen.com>
Subject:                        RE: Caesars Trade - Cowen Special Investments


Not sure where the confusion is here:

       1.       There is no upstream confirm
       2.       WB purchase always subject to execution of transaction with upstream




From: Bottge, Jillian
Sent: Tuesday, February 07, 2017 10:00 AM
To: Schwab, Bradly <Bradly.Schwab@cowen.com>; Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Whitebox wondering if we have given earl notice and would like to see the upstream confirm ..... .




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com
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From: Schwab, Bradly
Sent: Tuesday, February 07, 2017 9:48AM
To: Bottge, Jillian <Jillian.Bottge@cowen.com>; Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

https://cases.primeclerk.com/ceoc/home-docketinfo

You can check with the above link.

B.


From: Bottge, Jillian
Sent: Tuesday, February 07, 2017 9:47AM
To: Schwab, Bradly <Bradly.Schwab@cowen.com>; Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments




                                                                                       CONFIDENTIAL CSI 00000531
           Case 15-01145          Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03             Desc
                                            Exhibit 14 Page 32 of 38
Is there anything on the docket for earl of sandwich?




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com




From: Schwab, Bradly
Sent: Monday, January 23, 2017 10:32 AM
To: Bottge, Jillian <Jillian.Bottge@cowen.com>; Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Jillian- As of now seller is sitting tight. Will keep you posted if anything changes.

We have been told by claims agent that claims are no longer transferable.

B.

Bradly D. Schwab I Managing Director
Head of Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
0: 646.616.3081
Bradly. schwab@cowen. com




From: Bottge, Jillian
Sent: Monday, January 23, 2017 10:23 AM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>; Schwab, Bradly <Bradly.Schwab@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Any feedback yet from the seller? Still MIA?




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com




From: Rosenblum, Gail
Sent: Tuesday, January 17, 2017 2:36PM
To: Bottge, Jillian <Jillian.Bottge@cowen.com>




                                                                                        CONFIDENTIAL CSI 00000532
               Case 15-01145      Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                    Desc
                                            Exhibit 14 Page 33 of 38
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Jill ian,

I just got off the phone with the claims agent and they are checking on transferability (Plan was confirmed) and said they
will get back to me today.

Revising language in the doc is reasonable and should not be a problem.

Gail


From: Bottge, Jillian
Sent: Tuesday, January 17, 2017 2:32PM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Got it.
Whitebox will need to address record date in the agreement to account for timing updates ...




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com




From: Rosenblum, Gail
Sent: Tuesday, January 17, 2017 12:24 PM
To: Bottge, Jillian <Jillian.Bottge@cowen.com>
Cc: Mori, John <John.Mori@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Jill ian,

We were in touch with the Seller late Friday and waiting to hear from him. We explained the deadline (confirmation
hearing is today) and have also contacted the claims administrator regarding transferability should the plan be
confirmed today.

I will get back to you as soon as I have more info, hopefully within the next few hours.

Please let me know if you have any questions.

Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022




                                                                                           CONFIDENTIAL CSI 00000533
                  Case 15-01145   Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03           Desc
                                            Exhibit 14 Page 34 of 38
(0): 646-616-3082
Gaii.Rosenblum@cowen.com




From: Bottge, Jillian
Sent: Tuesday, January 17, 2017 11:51 AM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Gail- we do we stand with this trade?




Jillian Bottge
Phone: 646-616-3027
Email: jillian.bottge@cowen.com
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                        ... 1
             )'~-?' rr:;N




From: Rosenblum, Gail
Sent: Thursday, January 12, 2017 1:25PM
To: Pasacreta, Amy <apasacreta@orrick.com>
Cc: Patel, Amit <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
<John.Mori@cowen.com>; Bottge, Jillian <Jillian.Bottge@cowen.com>; Fechik, Matthew <mfechik@orrick.com>; Mintz,
DouglasS. <dmintz@orrick.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Hi Amy,

Thank you for the quick turnaround.

We will forward the supporting documents as soon as they are received.

Regards,
Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com




From: Pasacreta, Amy [mailto:apasacreta@orrick.com]
Sent: Thursday, January 12, 2017 12:57 PM
To: Rosenblum, Gail <Gaii.Rosenblum@cowen.com>
Cc: Patel, Amit <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
<John.Mori@cowen.com>; Bottge, Jillian <Jillian.Bottge@cowen.com>; Fechik, Matthew <mfechik@orrick.com>; Mintz,




                                                                                CONFIDENTIAL CSI 00000534
            Case 15-01145       Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                       Desc
                                          Exhibit 14 Page 35 of 38
DouglasS. <dmintz@orrick.com>
Subject: RE: Caesars Trade- Cowen Special Investments

Gail-

As discussed, attached are initial comments to the draft (clean and marked to show changes). In the interest
of time, I am forwarding prior to: (i) diligence review, (ii) final internal review and (iii) review by Whitebox, as
such, the attached remains subject to further review and comment. The attached also assumes the claim is an
allowed general unsecured Class I claim.

Please let me know if you have any questions on the attached.


Thank you!


Amy G. Pasacreta
Attorney At Law

Orrick
New York :;:~)
T +1-212-506-5159
apasacreta@orrick.com




Distressed Download Blog




From: Rosenblum, Gail [mailto:Gaii.Rosenblum@cowen.com]
Sent: Thursday, January 12, 2017 11:12 AM
To: Pasacreta, Amy <apasacreta@orrick.com>
Cc: Patel, Amit <APatel@whiteboxadvisors.com>; Delano, Cindy Chen <CDelano@whiteboxadvisors.com>; Mori, John
<John.Mori@cowen.com>; Bottge, Jillian <Jillian.Bottge@cowen.com>
Subject: Caesars Trade- Cowen Special Investments

Amy,

I am following up to our conversation (with John Mori) earlier this morning. Below you will find the trade details for the
sale of the Earl of Sandwich (Atlantic City) LLC claim to White box.

Attached is a draft the upstream, and as will be stated to the Seller, the trade is subject to the completion of due
diligence and confirmation the claim is allowed in the amount of $3,600,000.00. Two claims have been filed, and we
believe one will be expunged, but both have been included in the agreement. In addition, space has been left in the
draft to include the Order.

Please let us know if you have comments to the draft.




                                                                                        CONFIDENTIAL CSI 00000535
             Case 15-01145               Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03                                            Desc
                                                   Exhibit 14 Page 36 of 38
Cowen Special Investments LLC (Cowen) confirms the following transaction with Whitebox Advisors.

Debtor{s):                                Caesars Entertainment Operating Company, Inc.
                                        US Bankruptcy Court, Northern District of Illinois
                                   CASE No. 15-01145

Claim:                                       Valid, undisputed, liquidated, non-contingent, allowed, general unsecured claim in
the amount of $3,600,000.00

Original Creditor:                          Earl of Sandwich (Atlantic City) LLC

Purchase Rate:                               62.00%

Purchase Price:                             $2,232,000.00- Product of the Purchase Rate and the total amount of the Claim

Form of Purchase:                           Assignment of Claim Agreement to be prepared by Cowen.

Conditions:          Trade subject to satisfactory completion of due diligence. Cowen executing an Assignment of Claim
                     Agreement with original holder of Claim. Execution of a mutually acceptable Assignment of Claim
                     customary for the sale and purchase of distressed trade claims.



Thank you,
Gail

Gail Rosenblum
Vice President
Cowen Special Investments
830 Third Avenue, 4th Floor
New York, NY 10022
(0): 646-616-3082
Gaii.Rosenblum@cowen.com

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                                                                                                                  CONFIDENTIAL CSI 00000536
           Case 15-01145     Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03              Desc
                                       Exhibit 14 Page 37 of 38
From:            Bottge, Jillian
Sent:            Tuesday, February 07, 2017 9:10:59 AM
To:              AMIT PATEL
Subject:         Bloomberg Conversation

Attachments:      Orig inaiXml.xml

Archived Instant Message Conversation (Bloomberg)
Conversation started on Tue, Feb 7, 2017 9:10AM EST
JBOTTGE entered the conversation.
JBOTTGE invited APATEL362 to the conversation:
APATEL362 entered the conversation.
JBOTTGE said:
BANKRUPTCY • Republic Airlines -high 30s • Peabody 1st lien claims- upper 90s • Peabody GUC- mid
teens/upper teens • Caesars I Claims- 60s (transferability questionable) • Caesars 0 Claims -low/mid 60s •
Caesars M Claims - mid 90s • Ultra Petroleum (GUC)- have yet to trade high 80s/low 90s? INSURANCE
LIQUIDATION • The Home Insurance Liquidation- mid 50s gross • Midland Insurance Liquidation -low 20s net
FRAUD • Stanford International Bank- mid teens • Madoff Direct- high teens/low 20s net • Petters • Platinum
Partners DISTRESSED SECONDARIES • Fairfield Sentry • Fairfield Sigma • Hermes • Lancelot • Palm Beach
CLASS ACTION • Interchange (Visa/MasterCard Class Action)- approx. 1.25%
APATEL362 said:
*** AMIT PATEL (WHITEBOX ADVISORS, LLC) Personal Disclaimer:
APATEL362 said:
*** WHITEBOX ADVISORS, LLC (1 07547) Disclaimer:
JBOTTGE said:
let me know if there are others on that list that you guys care on .. besides the ones we talk about
APATEL362 said:
okthx
APATEL362 said:
keep us up on hilton
JBOTTGE said:
yup
APATEL362 said:
did you guys notice earl of sandwich?
JBOTTGE said:
no. is this going to put me in a bad mood
APATEL362 said:
why not?
JBOTTGE said:
checked the docket the other day .. didnt see anything
APATEL362 said:
can you send cindy the upstream confirm?
APATEL362 said:
we want to look at the language
JBOTTGE said:
ill check .. im not sure we ever got the assignment of claim agreement executed with them
APATEL362 said:
no not the AOC the confirm
APATEL362 said:
didnt you guys get a confirm from them to match the downstream?
JBOTTGE said:
checking
JBOTTGE said:
i do not have an upstream confirm
JBOTTGE said:
let me know if you want to chat
JBOTTGE left the conversation.
JBOTTGE entered the conversation.
Conversation ended on Tue, Feb 7, 2017 3:02 PM EST
Parties in this conversation
About APATEL362 [AMIT PATEL -]
Bloomberg Email:         APATEL362@Bioomberg.net
Corporate Email:
Firm: WHITEBOX ADVISORS, L []




                                                                              CONFIDENTIAL CSI 00000537
         Case 15-01145     Doc 8199-14 Filed 07/31/18 Entered 07/31/18 18:13:03        Desc
                                     Exhibit 14 Page 38 of 38
About JBOTTGE [JILLIAN BOTTGE - 34813]
Bloomberg Email:     JBOTTGE@Bioomberg.net
Corporate Email:     jillian.bottge@cowen.com
Firm: COWEN AND COMPANY, L [34813]
Proofpoint Archiving and Compliance Suite
Tag as Bloomberg Tag as Instant Message Tag as Instant Messages Tag as IM




                                                                            CONFIDENTIAL CSI 00000538
